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NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number       17-cr-00046

Imad Hassoun
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED          9     FEDERAL PUBLIC DEFENDER



                                                                (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:


                                          Jonathan Jeffress (479074)
                                                        (Attorney & Bar ID Number)
                                          KaiserDillon PLLC
                                                               (Firm Name)
                                          1099 14th Street NW, 8th Floor West
                                                              (Street Address)

                                          Washington, DC                         20005
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                                          (202) 640-2850
                                                           (Telephone Number)
